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 To the Honorable Judge T.S. Ellis III,

 My name is Bader Ahmed. I am Muneeb and Sohaib Akhter’s grandmother from their father’s side. I am
 75 years old and in weak health. They are very good, God fearing, loving, honest, caring and intelligent
 children. Please give them one more chance. This will serve as a lesson for them. I am sure they will
 never make this mistake again. They are like a flower bud. Please don’t pick the bud. Let the bud open
 and bloom. I am begging for mercy for them.

 Sincerely,



 Grandma Bader
 Richardson Texas
